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 1 HAYES H. GABLE III
   Attorney at Law
 2 State Bar No. 60368
   428 J Street, Suite 350
 3 Sacramento, CA 95814
   (916) 446-3331
 4
   Attorney for Defendant
 5 PRETTY LE

 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,                       )           CR.S-08-191 GEB
                                                   )
12   Plaintiff,                                    )
                                                   )           STIPULATION AND [PROPOSED]
13                                                 )           ORDER RE: CONTINUANCE OF
                                                   )           STATUS CONFERENCE AND
14 v.                                              )           EXCLUSION OF TIME UNDER
                                                   )           SPEEDY TRIAL ACT
15   PRETTY LE and                                 )
     MARGARTO ALBERTE                              )
16                                                 )
                                                   )
17   Defendants.                                   )           Judge: Hon. Garland E. Burrell, Jr.
                                                   )
18
                                                       -o0o-
19
            Plaintiff, United States of America, by and through its counsel, Assistant United States
20
     Attorney Mary Grad, and defendants Pretty Le, by and through her counsel, Hayes H. Gable, III,
21
     and Margarto Alberte, by and through his counsel, Michael L. Chastaine, agree and stipulate to
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     vacate the existing status conference in the above-captioned action, August 22, 2008, and to
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     continue the matter to October 10, 2008, at 9:00 a.m. for status conference.
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            The reason for this request is that the defense and the government require additional time
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     to negotiate a settlement in this matter. The parties further agree and stipulate that the period for
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     the filing of this stipulation until October 10, 2008, should be excluded in computing time for
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     commencement of trial under the Speedy Trial Act, based upon the interest of justice under 18
28
     U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and to allow

                                                                 1.
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 1 reasonable time necessary for effective presentation. It is further agreed and stipulated that the

 2 need of defense counsel to prepare exceeds the public’s interest in commencing trial within 70

 3 days.

 4         Counsel for the government and defendant Wilson has authorized the execution of this

 5 stipulation on their behalf. Accordingly, the parties respectfully request the Court adopt this

 6 proposed stipulation.

 7

 8 Dated: August 19, 2008                        /s/Hayes H. Gable, III
                                                 HAYES H. GABLE III
 9                                               Attorney for Defendant
                                                 PRETTY LE
10
     Dated: August 19, 2008
11
                                                 /s/Hayes H. Gable, III for
12                                               MICHAEL L. CHASTAINE
                                                 Attorney for Defendant
13                                               MARGARTO ALBERTE

14

15 Dated: May 31, 2007                           MCGREGOR W. SCOTT
                                                 United States Attorney
16
                                          By:    s/Hayes H. Gable, III for
17                                               MARY L. GRAD
                                                 Assistant United States Attorney
18

19                                               ORDER

20   IT IS SO ORDERED.

21 Dated: August 22, 2008

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23                                              GARLAND E. BURRELL, JR.
                                                United States District Judge
24

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